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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                 )
Southern Utah Wilderness Alliance, et al.,       )
                                                 )
Plaintiffs,                                      )
                                                 )
v.                                               )       Civ. No. 1:20-cv-03654
                                                 )
David Bernhardt, et al.,                         )
                                                 )
Defendants.                                      )

                         DECLARATION OF STEPHEN H.M. BLOCH
                              TO APPEAR PRO HAC VICE

I, Stephen Bloch, declare as follows:

        1.       My full name is Stephen Henry Morris Bloch, and I am co-counsel for

PLAINTIFFS SOUTHERN UTAH WILDERNESS ALLIANCE, LIVING RIVERS, and

CENTER FOR BIOLOGICAL DIVERSITY.

        2.       I am employed at the SOUTHERN UTAH WILDERNESS ALLIANCE. My

office address is: Southern Utah Wilderness Alliance, 425 East 100 South, Salt Lake City, Utah

84111, (801) 486-3161.

        3.       I am admitted to practice before the bars of the state of Utah, the United States

District Court for the District of Utah, the United States Court of Appeals for the Tenth Circuit,

and the United States Supreme Court.

        4.       I have never been subject to any disciplinary proceedings in any Court.

        5.       I have not been admitted pro hac vice to the United States District Court for the

District of Columbia within the past two years. I have been previously admitted pro hac vice to

the United States District Court for the District of Columbia seven times from 2002 to 2017:

                                                     1
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Southern Utah Wilderness Alliance v. Norton, 1:02cv1868 JR (2002)
Southern Utah Wilderness Alliance v. Norton, 1:04cv666 EGS (2004)
Southern Utah Wilderness Alliance v. Kempthorne, 1:08cv411 RBW (2008)
Southern Utah Wilderness Alliance v. Allred, 1:08cv2187 RMU (2008)
Southern Utah Wilderness Alliance v. U.S. Dep’t of the Interior, RMU 1:10cv1930 (2010)
The Wilderness Soc’y v. Trump, 1:17cv2587 TSC (2017)
Natural Resources Defense Council v. Trump, 1:17cv2606 TSC (2017)

        6.      I do not practice law from an office located within the District of Columbia.

        7.      I am personally familiar with the Local Rules for the United States District Court

for the District of Columbia, the United States Judicial Code, the Federal Rules of Civil

Procedure, and the Code of Professional Responsibility of the District of Columbia Court of

Appeals. I will faithfully adhere to these rules.

        Pursuant to 28 U.S.C. §1746, I hereby declare under penalty of perjury that the foregoing

is true and correct.




                                                             ________________________
                                                             Stephen H.M. Bloch
 December 16, 2020




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